Case 19-10350-JDW        Doc 69     Filed 05/16/19 Entered 05/16/19 10:15:23               Desc Main
                                    Document Page 1 of 2


_________________________________________________________________________________

                                                     SO ORDERED,



                                                     Judge Jason D. Woodard
                                                     United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        NORTHERN DISTRICT OF MISSISSIPPI

IN RE: WESLEY L BAILEY dba P&B LOGGING, LLC dba LOG’AN HAUL, LLC
       dba MIDSOUTH LOG & PULP LLC dba NORTH MS TIMBER HARVESTING, LLC
       dba LOGAN BAILEY CONSTRUCTION, LLC
       aka LOGAN BAILEY                                         DEBTOR(S)
                                                     CASE NO. 19-10350-JDW
                                                               CHAPTER 13
FORD MOTOR CREDIT COMPANY LLC                                    CREDITOR

       ORDER GRANTING ADEQUATE PROTECTION AND OTHER RELIEF

       THIS DAY this case came on for consideration of a motion for adequate protection payments

(#14) to be made to Ford Motor Credit Company LLC (Creditor) on its secured claim covering a

2014 Ford F-250 vehicle bearing VIN 1FT7W2B60EEA30216, and there being no response filed,
                                               is due to                                  (JDW)
and the Court is of the opinion that said motion XXXX
XXXXXXXXXXXXXXXXXXXXX                            should be granted as set forth herein.

       IT IS, THEREFORE, ORDERED that:

              1. (non-910-day motor vehicle) Creditor is entitled to adequate protection
       payments of one and a half percent (1½%) per month of the sum of $15,946.94, for
       said property, for a monthly payment of $239.20, which is to be applied to the
       principal balance.

               2. Debtor(s) shall pay the full plan payment to the trustee commencing not
       later than thirty (30) days after the order for relief as provided by 11 U. S. C. §
       1326(a)(1), including a trustee administrative fee as established by the United States
       Attorney General pursuant to 28 U.S.C. § 586(e)(1)(B), subject to paragraph 4 below.

              3. Upon the filing of a proof of claim by said creditor, the Chapter 13 Trustee
       shall monthly disburse such adequate protection payments or such lease payments to
       Creditor beginning not later than ninety (90) days from the date of the order for relief
Case 19-10350-JDW       Doc 69    Filed 05/16/19 Entered 05/16/19 10:15:23   Desc Main
                                  Document Page 2 of 2


       and continuing until the Chapter 13 Plan is confirmed.

                                   ## END OF ORDER ##

SUBMITTED BY:

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